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                              Confidential

                                                                        Page 1


        UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF NEVADA
        - - - - - - - - - - - - - - - - - - - - x
        CUNG LE, NATHAN QUARRY, JOHN FITCH,
        BRANDON VERA, LUIS JAVIER VAZQUEZ,
        and KYLE KINGSBURY, on behalf of
        themselves and all others similarly
        situated,
                  Plaintiffs,
                                  Case No.
            -against-        2:15-cv-01045-RFB(PAL)
        ZUFFA, LLC, d/b/a ULTIMATE FIGHTING
        CHAMPIONSHIP and UFC,

                    Defendants.

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             H I G H L Y C O N F I D E N T I A L
                   Videotaped oral deposition of
              ANDREW ZIMBALIST, Ph.D., taken pursuant
              to notice, was held at the law offices
              of Cohen Millstein, 88 Pine Street, New
              York, New York, commencing January 26,
              2018, 10:13 a.m., on the above date,
              before Leslie Fagin, a Court Reporter
              and Notary Public in the State of New
              York.
                             - - -



                      MAGNA LEGAL SERVICES
               320 West 37th Street, 12th Floor
                  New York, New York 10018
                        (866) 624-6221
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                                                                   Page 41
   1          A. Zimbalist - Confidential
   2    market, not an input market, yes.
   3          Q.     When you are defining an input
   4    market, do you look at the downstream
   5    revenues or do you look at the upstream
   6    purchases?
   7          A.     Well, it depends on what input
   8    market you are looking at.
   9          Q.     Why does it matter which input
  10    market you are looking at?
  11          A.    You would look at the percent of
  12    control by one firm or by -- if you are using
  13    multiple firms you are looking at
  14    concentration ratios, you would look at the
  15    percent of the inputs that they had
  16    purchased.
  17          Q.    You wouldn't look at downstream
  18    revenues?
  19          A.    You would look at concentration in
  20    the input market.
  21          Q.    So why is your critique that
  22    Professor Blair didn't look -- why are you
  23    critiquing Professor Blair by saying he
  24    should have looked at downstream event
  25    revenues?
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                              Confidential

                                                                   Page 42
   1          A. Zimbalist - Confidential
   2          A.    Because he is looking at the output
   3    market when he looks at the shares of bouts
   4    that different producers put on.
   5          Q.    Is he?
   6          A.    I think so.
   7          Q.    Why isn't he looking at basically
   8    just the number of fights that were purchased
   9    by the promoter?
  10          A.    Bouts are output, that's what is
  11    being sold to the public.
  12          Q.    But that's also what's being
  13    purchased from the fighters, isn't it?
  14          A.    Well, if you wanted to look at the
  15    concentration of purchase of the input, then
  16    you would be defining it in terms of the
  17    number of fighters and I think you would also
  18    be looking at a weighting of the fighters
  19    according to their compensation.
  20                There are some fighters would be
  21    more important than others, but if firm A was
  22    hiring all of the best fighters and they pay
  23    each of those fighters a million dollars a
  24    bout and firm B was hiring many, many, many
  25    more fighters, but they paid each of them $10
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                                                                   Page 43
   1          A. Zimbalist - Confidential
   2    a bought, then I think, once again, you would
   3    need to have -- first you would be looking at
   4    number of fighters rather than number of
   5    bouts because you could be using, after all,
   6    the same fighters to be in every bout, so you
   7    want to look at the input, which is the
   8    fighter, not the bout, which is the output.
   9                And then, secondly, you would want
  10    to weight it according to the importance of
  11    the fighters and that would be the payment to
  12    those inputs.
  13          Q.    Now, let's imagine you are in a
  14    world where you don't have any of that data.
  15                Is there an acceptable way to
  16    measure share?
  17                MR. CRAMER:      Objection to form,
  18          incomplete hypothetical.
  19          A.    You don't have any of what data.
  20          Q.    Let's say you don't have all of the
  21    compensation data for all of the different
  22    fighters that were in the market.
  23                In that world, is there an
  24    appropriate way to measure market share?
  25                MR. CRAMER:      Objection to form.
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                                                                  Page 183
   1
   2                         CERTIFICATE
   3
                    I HEREBY CERTIFY that the witness,
   4    ANDREW ZIMBALIST, was duly sworn by me and
        that the deposition is a true record of the
   5    testimony given by the witness.
   6                _______________________________
                    Leslie Fagin,
   7                Registered Professional Reporter
                    Dated: January 26, 2018
   8
   9
  10
                    (The foregoing certification of
  11    this transcript does not apply to any
  12    reproduction of the same by any means, unless
  13    under the direct control and/or supervision
  14    of the certifying reporter.)
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